   Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 1 of 39




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                              DECISION & ORDER and
                       Plaintiff,                             REPORT & RECOMMENDATION

                v.                                            05-CR-6062L

CARLOS TORRES,
JESSIE MCINTYRE,
FREDERICK ROLLE,
ONEL MEDINA-SOSA,

                       Defendants.




                                    PRELIMINARY STATEMENT

                By Order of Hon. David G. Larimer, United States District Judge, dated May 6,

2005, all pre-trial matters in the above captioned case have been referred to this Court pursuant to

28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 14).

                Defendants Carlos Torres, Jessie McIntyre, Frederick Rolle and Onel Medina-

Sosa are charged with conspiring to possess with intent to distribute, and to distribute, five

kilograms or more of cocaine, in violation of 21 U.S.C. § 846. (Docket # 7). Defendant Carlos

Torres is also charged with possessing a firearm in furtherance of that offense, in violation of 18

U.S.C. § 924(c)(1). Both of the charged offenses allegedly occurred on or about April 20, 2005.

(Docket # 7).

                On March 2, 2006, at a status conference before this Court, the government

represented that it has decided not to pursue the charges against McIntyre and will be taking steps
   Case 6:05-cr-06062-DGL-MWP                    Document 108            Filed 03/03/06         Page 2 of 39




to discontinue the prosecution against him. As of today (March 3, 2006), the government has not

yet filed a motion under Rule 48(a) of the Federal Rules of Criminal Procedure to dismiss the

indictment against McIntyre.

                  Currently pending before this Court for a Decision and Order is defendant

Torres’s motion for the disclosure of the identity of the government’s confidential informant.

(Docket # 41). Before the Court for Report and Recommendation are motions by defendants

Medina-Sosa and Torres to suppress tangible evidence and by Medina-Sosa to suppress

statements. (Docket ## 26, 41, 85, 88).1 The following constitutes this Court’s Decision and

Order and Report and Recommendation on defendants’ motions.



                                        FACTUAL BACKGROUND

                  The factual background relating to defendants’ motions to suppress was presented

to this Court in three different ways. First, this Court has reviewed a search warrant and

supporting affidavits for the residence at 735 Parsells Avenue and a 1994 Ford Bronco. (Docket

# 41, Ex. B; # 88, Ex. C). Second, a suppression hearing was conducted on September 8, 2005.

(Docket ## 70, 80). Finally, this Court also conducted a Franks hearing on August 31, 2005.

(Docket ## 67, 73).




         1
            Defendants’ omnibus motions also sought, inter alia, a bill of particulars, Brady material, a conspiracy
hearing, discovery and inspection, rulings on evidentiary matters under Rules 404, 608 and 609 of the Federal Rules
of Evidence, Jencks material, preservation of rough notes, severance and inspection of the jury lists. Each of these
requests was either resolved by the parties or decided in open court by the undersigned on July 22 and August 17,
2005. (Docket ## 52, 56, 64, 65).

                                                         2
   Case 6:05-cr-06062-DGL-MWP                     Document 108            Filed 03/03/06         Page 3 of 39




I. Search Warrant Applications

                  In support of their motions to suppress, defendants have submitted for this Court’s

review the search warrant for 735 Parsells Avenue issued by Rochester City Court Judge Ellen

M. Yacknin, as well as the affidavit submitted in support of such warrant by Officer Robinson

Aponte of the Rochester Police Department. (Docket # 41, Ex. B). Defendants have also

submitted the warrant and Aponte’s supporting affidavit for Medina-Sosa’s Ford Bronco.

(Docket # 41, Ex. C).

                  A. Search Warrant for 735 Parsells Avenue: On April 20, 2005, Judge

Yacknin authorized a search of 735 Parsells Avenue for, inter alia, cocaine, cocaine

paraphernalia, records and proceeds of cocaine trafficking and firearms. (Docket # 41, Ex. B).

In Officer Aponte’s supporting affidavit (“Residence Aff.”), he affirmed that on April 20, 2005,

officers of the Rochester Police Department received information from a private citizen

concerning a white Oldsmobile, bearing New York license plate number CZY-3331, that had

been parked in front of his house on several occasions. The citizen informed the officers that he

had observed young males exit the car, walk through the yards of other houses and enter a house

located on “the next street over.” (Residence Aff. at 3).2 On some occasions, the citizen

reported, the men carried bags with them into the house; on other occasions, they carried bags out

of the house. (Residence Aff. at 3).

                  At the same time as the citizen was reporting the information to the officers (who

were apparently in the vicinity of the citizen’s home), the officers observed the white Oldsmobile



         2
           References to Aponte’s affidavit are to the pages of the affidavit because the paragraphs are not
separately numbered.

                                                          3
   Case 6:05-cr-06062-DGL-MWP             Document 108        Filed 03/03/06      Page 4 of 39




identified by the citizen drive past them. The officers followed the Oldsmobile in their patrol

car, activated their emergency lights and attempted to conduct a traffic stop. Instead of stopping,

the Oldsmobile accelerated and drove on at a high rate of speed, eventually driving through a

fence at the end of a residential driveway and coming to rest in the backyard. The driver, later

identified as defendant Frederick Rolle, exited the vehicle and fled on foot through the

neighborhood. Rolle was apprehended by the officers, handcuffed, and returned to the yard in

which the Oldsmobile had come to rest. (Residence Aff. at 3).

               A records check revealed that Rolle’s driving privileges had been suspended, and

he was ticketed for various traffic infractions. A tow truck was called to the scene because the

Oldsmobile had sustained extensive damage, making it unfit to operate. (Residence Aff. at 3).

Before the car was towed, however, Officer Vasquez conducted an inventory search of the

Oldsmobile to ensure the safety of any valuables in the vehicle. During the search, Vasquez

observed a backpack in the vehicle, inside of which he discovered five kilograms of cocaine.

(Residence Aff. at 3).

               Rolle was then transported to the Monroe County Public Safety Building, where

he was interviewed by Officer Aponte. After introducing himself to Rolle, Aponte advised him

of his Miranda warnings, and Rolle agreed to speak with him. (Residence Aff. at 3). Rolle

stated that earlier in the day, Jessie McIntyre had picked him up in the white Oldsmobile and had

informed him that he had “kilos” of cocaine that he wanted Rolle to deliver to 378 Alphonse

Street. Rolle admitted that he had made similar deliveries for McIntyre on approximately four

previous occasions. On those previous occasions, Rolle stated, he accompanied McIntyre to a

house on Parsells Avenue to obtain the cocaine, which was later stored at 378 Alphonse Street.


                                                 4
  Case 6:05-cr-06062-DGL-MWP             Document 108        Filed 03/03/06      Page 5 of 39




As recently as the preceding Friday, Rolle accompanied McIntyre to the Parsells Avenue

residence to deliver cash to a Hispanic male as payment for a previous purchase of cocaine.

(Residence Aff. at 4).

               Although Rolle did not know the exact address of the Parsells Avenue residence,

he described it as a yellow house, “just short of” Merchants Road in Rochester, with a wire fence

in front and a wooden fence along the side. He also indicated that a red pick-up truck and a

“bluish-gray” Humvee were usually parked in the driveway. Using Rolle’s description, officers

went to Parsells Avenue and identified 735 Parsells Avenue as the location that matched Rolle’s

description. (Residence Aff. at 4).

               Aponte further affirmed that on the day he applied for the search warrant, he had a

conversation with Officer Sindoni, who informed him that a confidential informant working with

him had visited 735 Parsells Avenue the previous week and had observed two kilograms of

cocaine, empty kilogram wrappers and a large amount of currency in the basement of the house.

(Residence Aff. at 4).

               B. Search Warrant for Ford Bronco: On the same day that officers executed

the search warrant for 735 Parsells Avenue, Rochester City Court Judge John Elliott authorized a

search of a 1994 Ford Bronco that was parked in the driveway. As with the warrant for the

residence, the warrant for the vehicle was issued upon a supporting affidavit submitted by

Aponte (“Bronco Aff.”). (Docket # 88, Ex. C).

               In his affidavit, Aponte affirmed that while executing the search warrant for 735

Parsells Avenue, officers had observed a black Ford Bronco occupied by a Hispanic male parked

in the driveway. (Bronco Aff. at 3). The searching officers detained the male for questioning as


                                                5
   Case 6:05-cr-06062-DGL-MWP                      Document 108             Filed 03/03/06          Page 6 of 39




the search of 735 Parsells Avenue was conducted. A narcotics detection dog was called to the

residence to search for narcotics.3 While searching the house, the dog alerted to a gray coat in

which a large amount of currency was discovered. The dog was then directed to search the Ford

Bronco in the driveway. As the dog approached the front door of the vehicle, he began to bark

aggressively, indicating the presence of narcotics. (Bronco Aff. at 3).

                  According to Aponte, the driver of the vehicle, who was the registered owner of

the Bronco, consented to permit the officers to search the Bronco. During the search, Aponte

observed a hidden trap or compartment in the rear passenger area of the vehicle. Based upon his

training and experience, Aponte opined that such compartment was similar to those used by

persons involved in trafficking large quantities of narcotics, weapons or currency. After

discovering the hidden compartment, Aponte discontinued the search of the Bronco and applied

for a search warrant. (Bronco Aff. at 3).



II. Suppression Hearing

                  This Court conducted a suppression hearing on September 8, 2005, relating to

Medina-Sosa’s suppression motions.4 During the hearing, the government presented the

testimony of Officers Aponte, Philip Sindoni and Joe Celorio of the Rochester Police Department




         3
            The affidavit identifies the house number to which the dog was summoned as “753." Based upon the
inclusion of several other references to “735" in the affidavit and the fact that the earlier warrant had issued for 735
Parsells Avenue, the reference to “753" appears to be a transcriptional error.

         4
            The transcript of the suppression hearing conducted before this Court on September 8, 2005, shall
hereinafter be referenced as “Tr.B __.” (Docket # 80).

                                                            6
   Case 6:05-cr-06062-DGL-MWP                 Document 108          Filed 03/03/06        Page 7 of 39




and Sergeant John Henderson of the Greece Police Department.5 (Docket ## 70, 80). The

testimony offered by the various officers was consistent in many respects and credible. Based

upon that testimony, this Court finds the following.

                On April 20, 2005, Sergeant Henderson advised Officer Aponte that uniformed

patrol officers had arrested Rolle and had confiscated approximately five kilograms of cocaine.

Aponte thereafter interviewed Rolle at the Monroe County Public Safety Building. (Tr.B 96).

During the interview, Rolle indicated that on previous occasions, he had retrieved cocaine and

had delivered narcotics proceeds to a house on Parsells Avenue. Although Rolle did not know

the exact address, he described the house and the vehicles located in the driveway. (Tr.B 96-97).

                Following the interview, Aponte advised Henderson that Rolle had identified a

house on Parsells Avenue as the location from which the cocaine had been obtained. In

response, Henderson directed Officer Santell and other officers to Parsells Avenue to determine

whether they could identify the house. Santell thereafter reported to Henderson that the residence

at 735 Parsells Avenue fit the description provided by Rolle. (Tr.B 35-36).

                Henderson returned to the police station and entered the address into a database

known as the “case tracking system,” which allows an officer to enter an address to determine

whether any other officer has an open investigation relating to that address. Upon entering 735

Parsells Avenue, Henderson learned that that address was the subject of an investigation by

Officer Sindoni. (Tr.B 37-39, 41; G.Ex. 4). The system specifically identified the target of the




        5
          Henderson was assigned to the Greater Rochester Area Narcotics Enforcement Team on April 20, 2005.
(Tr.B 33-34).

                                                      7
   Case 6:05-cr-06062-DGL-MWP                     Document 108            Filed 03/03/06         Page 8 of 39




investigation as Carlos Torres and included an entry by Sindoni noting, “Target lives here and

stores weight here.” (Tr.B 39; G.Ex. 4).6

                  After reviewing the database information, Henderson called Sindoni to inquire

about his investigation into 735 Parsells Avenue. (Tr.B 42). Sindoni informed him that he had

been provided information about 735 Parsells Avenue by a confidential informant. (Tr.B 17-18).

As he testified, the confidential informant was an individual with whom Sindoni had worked for

approximately five years. During that time, the informant provided information that had led to at

least ten arrests of suspected narcotics traffickers and at least twelve criminal convictions. (Tr.B

14-15). The informant also had previously provided information upon which search warrants

had issued, resulting in the seizure of narcotics, firearms and currency. (Tr.B 15-16).

                  Sindoni reported to Henderson that a week or two earlier his informant had

advised him that Carlos Torres, who lived at 735 Parsells Avenue and owned a karate business

on North Goodman Street, was a narcotics dealer who dealt in kilogram quantities of cocaine.

The informant further reported that several weeks earlier he had observed large amounts of

cocaine, cash, cocaine wrappers and a German shepherd dog at 735 Parsells Avenue. (Tr.B 12-

13, 17-18, 20). Sindoni also told Henderson that the informant had advised him of an expected

shipment of a large amount of cocaine, which was to be transported in a black Ford Bronco

driven by a Dominican male. (Tr.B 14). Sindoni further informed Henderson that he had

observed a Ford Bronco parked at 735 Parsells Avenue approximately one or two weeks earlier.

         6
             Henderson testified that G.Ex. 4 is a photograph of the case tracking system file for 735 Parsells Avenue
as it existed at the time of the suppression hearing. Henderson testified that the information was slightly different
when he viewed the file on April 20, 2005. For example, G.Ex 4 identifies Aponte as the investigating officer; when
Henderson originally ran the report for 735 Parsells Avenue on April 20, 2005, the case tracking system identified
Officer Sindoni as the investigating officer. (Tr.B 41). Significantly, Henderson testified that the target name and
narrative entry described above were present when he viewed the file on April 20, 2005. (Tr.B 41).

                                                          8
   Case 6:05-cr-06062-DGL-MWP                  Document 108           Filed 03/03/06         Page 9 of 39




(Tr.B 16-17). Sindoni recalled that the Bronco bore a New York State license plate that was

registered to the name “Onel” at an address on Wilkens Street. (Tr.B 20).

                 After his conversation with Sindoni, Henderson was advised by Officer Santell

that he and other officers conducting surveillance of 735 Parsells Avenue had observed a black

Ford Bronco pull into the driveway of the residence. Henderson then advised Santell about the

information he learned from Sindoni about a black Ford Bronco. (Tr.B 44).

                 Based upon the foregoing information,7 Aponte submitted an application for a

search warrant for 735 Parsells Avenue, which was issued by Judge Yacknin. When the

searching officers arrived to execute the warrant, the black Ford Bronco was still parked in the

driveway. Onel Medina-Sosa, who was in the driver’s seat watching a video, was detained and

escorted to the front porch of the house while the search was initiated. (Tr.B 45-46, 66, 82).

After approximately fifteen minutes, Officer Celorio, who had been participating in the search of

the residence, was directed to talk to Medina-Sosa because Celorio spoke Spanish and Medina-

Sosa appeared to speak only Spanish. (Tr.B 66-67). Celorio asked Medina-Sosa for his name

and whether he was the owner of the Ford Bronco. Medina-Sosa indicated that the vehicle was

his. Celorio then asked Medina-Sosa for permission to search the Bronco, and Medina-Sosa

responded, “Yes, of course.” (Tr.B 68-69). After obtaining Medina-Sosa’s consent to search the

Bronco, Celorio walked off the front porch and informed the other officers that they had

permission to search, at which point they began to search the car. (Tr.B 70).




        7
          At the conclusion of Henderson’s conversation with Sindoni, Henderson arranged for Sindoni to speak to
Aponte because Aponte was preparing a search warrant for 735 Parsells Avenue. (Tr.B 43-44).

                                                       9
  Case 6:05-cr-06062-DGL-MWP             Document 108        Filed 03/03/06     Page 10 of 39




               During the search, officers discovered a possible hidden compartment underneath

the rear seat and advised Aponte of their discovery. When Aponte inspected the Bronco, he

observed that the rear seat had been pulled forward and that the metal floor underneath the seat

appeared to be higher than normal, suggesting that a hidden compartment might be present.

(Tr.B 101). Upon further inspection, Aponte observed a hole in the metal floorboard with jagged

metal edges, inside of which was an item that appeared to be bound with black electrical tape.

(Tr.B 102; G.Ex. 3). Aponte was able to reach in and touch the item, but could not remove it.

(Tr.B 103). Based upon his observations, as well as his training and experience, Aponte opined

that the item was cocaine. (Tr.B 106).

               At that point, Aponte suspended the search of the Bronco, notified Henderson of

the suspected hidden compartment and informed him that he wished to apply for a search

warrant. (Tr.B 106). A narcotics detection dog was then called to the scene and directed to

inspect the Bronco. The dog walked around the vehicle and began to bark aggressively at the

front of the Bronco, indicating the presence of narcotics. (Tr.B 108).

               When the search of 735 Parsells Avenue concluded, Medina-Sosa and the Bronco

were transported to the Monroe County Public Safety Building. (Tr.B 110). In the meanwhile,

Aponte applied for a search warrant to search the Bronco, which was issued by Judge Elliott.

During the subsequent search of the hidden compartment in the Bronco, Aponte discovered

twelve kilograms of cocaine wrapped in black electrical tape. (Tr.B 112).

               Approximately three hours after Medina-Sosa was transported to the Public Safety

Building, Celorio spoke with Medina-Sosa for a second time in an interview room at that

building. (Tr.B 70-72). Celorio was accompanied by Officer Edward Torres, who also speaks


                                                10
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 11 of 39




Spanish. (Tr.B 72-73). Celorio initially informed Medina-Sosa that he was being detained

pursuant to an investigation. He then advised Medina-Sosa of his Miranda warnings by reading

them verbatim from a Spanish Miranda form, as Medina-Sosa read along. (Tr.B 73, 77; G.Ex.

1). Specifically, Celorio advised Medina-Sosa in Spanish:

               You have the right to stay silent. You don’t have to say anything,
               if you don’t want to. Anything that you do say can be used against
               you in a penal court law. You have the right to consult with an
               attorney before any – before you answer any questions, and you
               have the right to have him with you here present. If you cannot pay
               for the services of a lawyer, one will be provided before any
               interview, if that’s the way you desire it. If you decide to talk with
               me, you can stop talking at any moment.

(Tr.B 75). After advising Medina-Sosa of his rights, Celorio asked him, “Did you understand

what I have just told you?” Medina-Sosa responded “Si” (yes), as he did to the question “would

[you] like to give up your rights and talk to me now?” (Tr.B 76-77).

               Celorio then interviewed Medina-Sosa for the next fifty or sixty minutes. (Tr.B

78). At no time during the interview did Medina-Sosa indicate that he wanted to speak with a

lawyer. (Tr.B 78). The interview concluded because Medina-Sosa stated that he wanted to stop

talking because he was scared for his family in the Dominican Republic. (Tr.B 78-79). Medina-

Sosa refused to sign a written statement, reiterating his fear for his family if he did so. (Tr.B 87).



III. Franks Hearing

               On April 20, 2005, Aponte was advised by uniformed officers that Rolle had been

arrested while carrying approximately five kilograms of cocaine in a car. Aponte directed the




                                                 11
  Case 6:05-cr-06062-DGL-MWP                    Document 108            Filed 03/03/06         Page 12 of 39




officers to transport Rolle and the vehicle to the Monroe County Public Safety Building. (Tr.A

4).8

                 At the Public Safety Building, Aponte introduced himself to Rolle and asked

Rolle whether he would explain the circumstances of his arrest, which Rolle agreed to do. (Tr.A

5). Before allowing Rolle to speak, Aponte advised him of his Miranda rights by reading the

rights from a form. Rolle indicated that he understood his rights and agreed to speak with

Aponte. (Tr.A 5). Aponte further explained that he would record the substance of Rolle’s

statement in writing and would allow Rolle to review the written statement and make corrections

to it at the end of the interview. (Tr.A 5-6).

                 Initially, Rolle recounted that he had gone to a house on Parsells Avenue to pick

up narcotics. (Tr.A 22). After approximately two minutes, Rolle exclaimed, in sum and

substance, “F_ _ _ this, I’m not going to lie for anyone, I’m not going to go to jail for anyone,

I’m going to tell you exactly what happened.” (Tr.A 6). At this point, Aponte marked an

asterisk on the top of the form he had been using to record Rolle’s statement and noted,

“Statement originally given by Frederick and then recanted.” (Tr.A 8; G.Ex. 1). Aponte then

took out a clean sheet of paper and began preparing a new statement. (Tr.A 8; G.Ex. 2).

                 During the ensuing interview, Rolle stated that the drugs that were in the car that

he was driving at the time of his arrest had been picked up by Jessie McIntyre and were intended

to be delivered to 378 Alphonse Street. According to Rolle, McIntyre always obtained his

kilograms of cocaine from a house on Parsells Avenue that belonged to a Hispanic male known



        8
           The transcript of the Franks hearing conducted before this Court on August 31, 2005, shall hereinafter be
referenced as “Tr.A __.” (Docket # 73).

                                                        12
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 13 of 39




as “Papi.” Rolle described the house as yellow with a wire fence in front and a wooden fence on

the side. Finally, Rolle stated that a red pick-up truck was usually parked in the driveway,

sometimes accompanied by a “bluish-gray” Humvee. (Tr.A 12; G.Ex. 2). Although he did not

include it in the written statement, Aponte recalled that Rolle also stated that a German shepherd

lived in the house and that there was a silver refrigerator in the house that caught his attention.

(Tr.A 13). When the written statement was complete, Aponte provided it to Rolle and asked him

to make any changes he thought were necessary and, if he agreed with the statement, to sign it.

Rolle appeared to read the statement and then signed it at the bottom. (Tr.A 11).

               After Rolle signed the statement, Aponte called Henderson and advised him of the

information provided by Rolle. (Tr.A 11-12). Henderson then directed Officer Santell to

Parsells Avenue in order to attempt to identify the house described in Rolle’s statement. (Tr.A

12). Santell thereafter reported that he had located a house at 735 Parsells Avenue that fit the

description provided by Rolle.

               After determining the address, Aponte began to draft a search warrant application.

(Tr.A 14). Before submitting the application, Aponte also learned that Sindoni had an open

investigation on 735 Parsells Avenue. (Tr.A 15). Aponte then contacted Sindoni and asked him

about his investigation. (Tr.A 15). Sindoni advised him that a confidential informant had

informed him that 735 Parsells Avenue was a drug location where the informant had personally

observed several kilograms of cocaine, empty kilogram wrappers and a large amount of money in

the basement. Aponte included this information in his supporting affidavit for the search

warrant. (Tr.A 16; G.Ex. 3).




                                                 13
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06       Page 14 of 39




                                    DECISION AND ORDER

                Defendant Torres has moved for disclosure of the identity, or in the alternative for

the court to conduct an in camera examination, of the government’s confidential informant.

(Docket # 41). The government opposes the motion on the grounds that immediate disclosure

would unduly compromise the safety of the confidential informant. (Docket # 45).

                The disclosure of a confidential informant’s identity is within the sound discretion

of the district court. DiBlasio v. Keane, 932 F.2d 1038, 1042 (2d Cir. 1991). The government

generally is not required to disclose the identity of confidential informants. Roviaro v. United

States, 353 U.S. 53, 59 (1957). In order to obtain such disclosure, the defendant must show that

without it, he “will be deprived of a fair trial.” United States v. Fields, 113 F.3d 313, 324 (2d

Cir.), cert. denied, 522 U.S. 976 (1997); United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.

1988) (defendant entitled to identity of confidential informant only upon showing that it is

essential or material to the defense), cert. denied, 489 U.S. 1089 (1989). A defendant’s mere

suggestion that disclosure will be of assistance to the defense of the case is insufficient. United

States v. Fields, 113 F.3d at 324. “[T]he district court must be satisfied, after balancing the

competing interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” Id. (citing Roviaro v.

United States, 353 U.S. at 62). Such a need is established, according to the Second Circuit,

“where the informant is a key witness or participant in the crime charged, someone whose

testimony would be significant in determining guilt or innocence.” United States v. Saa, 859

F.2d at 1073.




                                                 14
  Case 6:05-cr-06062-DGL-MWP                      Document 108             Filed 03/03/06          Page 15 of 39




                  In the instant matter, Torres has failed to show how disclosure of the informant’s

identity will be material to his defense. See United States v. Flaharty, 295 F.3d 182, 202 (2d Cir.

2002) (“speculation that disclosure of the informant’s identity will be of assistance is not

sufficient to meet the defendant’s burden”). In this case, the confidential informant’s role

appears limited to the transmission of certain information to Officer Sindoni that was included

within the search warrant application. The informant did not, for example, make any controlled

purchases of narcotics from 735 Parcells Avenue or defendant Torres. (Tr.A 67).

                  Considering the extensive discovery provided by the government, as well as the

evidence adduced during the pre-trial hearings, the nature of the prosecution against Torres is

hardly unclear. To the contrary, Aponte’s affidavits and the testimony presented during both the

suppression and Franks hearings provide significant detail concerning the government’s case.

Specifically, Rolle was arrested after fleeing from a vehicle containing five kilograms of cocaine,

which he indicated had likely been obtained from a house on Parsells Avenue. Officers

thereafter identified the house described by Rolle as 735 Parsells Avenue and obtained a search

warrant for it. During the search, additional evidence was seized from both the residence and a

Ford Bronco parked in the driveway at the time of the search. That evidence included twelve

kilograms of cocaine found in a hidden compartment in the Bronco. In addition to the physical

evidence seized, the officers also obtained statements from defendants Rolle and Medina-Sosa,

which have been produced to the defendants.9


         9
            By letter dated February 6, 2006, the government advised defense counsel that Frederick Rolle, who had
been cooperating in this matter, took and failed a lie detector test. As a result, the government represented that it will
not use Rolle as a cooperating witness. Although this disclosure prompted motions by Torres and McIntyre to
reopen their detention motions, no defendant has filed any additional pretrial motions or supplemented these motions
as a result of the information disclosed.

                                                           15
  Case 6:05-cr-06062-DGL-MWP               Document 108         Filed 03/03/06     Page 16 of 39




                 On this record, I find that the government’s need to protect the safety of the

informant outweighs whatever benefit disclosure of the informant’s identity may provide. Thus,

Torres’s motion for disclosure of the identity of the government’s confidential informant is

denied.



                             REPORT AND RECOMMENDATION

                 Both Torres and Medina-Sosa have moved to suppress physical evidence seized

on April 20, 2005 from the residence at 735 Parsells Avenue and from the Ford Bronco. (Docket

## 26, 41). Medina-Sosa has also moved to suppress statements he made during an interview at

the Monroe County Public Safety Building following his arrest. (Docket # 26). For the

following reasons, it is the recommendation of this Court that each of the motions be denied.



I. Suppression of Physical Evidence

                 Torres moves to suppress the evidence seized from 735 Parsells Avenue and from

the Ford Bronco on the grounds that the search warrant affidavits submitted by Aponte failed to

establish probable cause. (Docket # 41). Medina-Sosa moves to suppress the evidence seized

from the Ford Bronco on the grounds that his detention was unlawful and thus tainted his consent

to search and that the subsequently-issued search warrant was not supported by probable cause.

(Docket # 26).

                 A. Suppression of Evidence Seized from 735 Parsells Avenue: According to

Torres, Aponte’s affidavit in support of the search warrant for 735 Parsells Avenue failed to

establish probable cause for the search because it was based only upon non-credible information


                                                  16
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 17 of 39




obtained from Rolle and “second-hand” information received by another officer from a

confidential informant whose reliability was not established. (Docket # 41). I disagree that the

affidavit was wanting and find that the warrant was lawfully issued.

               The Fourth Amendment to the Constitution provides that “no Warrants shall

issue, but upon probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized.” U.S. Const. amend. IV; see also

Fed. R. Crim. P. 41. In Illinois v. Gates, 462 U.S. 213 (1983), the Supreme Court affirmed the

“totality of the circumstances” test to determine whether a search warrant satisfies the Fourth

Amendment’s probable cause requirement. According to the Court, the issuing judicial officer

must “make a practical, common-sense decision whether, given all the circumstances set forth in

the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of persons supplying

hearsay information, there is a fair probability that contraband or evidence of a crime will be

found in a particular place.” Id. at 238. A reviewing court’s obligation is merely to determine

that the issuing judge had a “‘substantial basis for ... conclud[ing]’ that probable cause existed.”

United States v. Smith, 9 F.3d 1007, 1012 (2d Cir. 1993) (quoting Illinois v. Gates, 462 U.S. at

238-39) (internal quotation omitted). Moreover, “resolution of marginal cases should be

determined by the preference to be afforded to warrants.” Id. (citing Jones v. United States, 362

U.S. 257, 270 (1960)).

                       1. Aponte’s Affidavit Established Probable Cause: This Court has

reviewed the affidavit submitted by Officer Aponte to Judge Yacknin in support of his

application for the search warrant for 735 Parsells Avenue. In that affidavit, Aponte affirmed

that on April 20, 2005, police officers received information from a private citizen relating to


                                                 17
  Case 6:05-cr-06062-DGL-MWP             Document 108        Filed 03/03/06      Page 18 of 39




suspicious activity involving a white Oldsmobile. (Residence Aff. at 3). As those officers were

talking to the citizen, they observed the white Oldsmobile drive by. The officers attempted to

conduct a traffic stop, but the Oldsmobile sped away, with the officers in pursuit. The vehicle

pulled into the driveway of a residence, drove through a fence and finally stopped in the back

yard. The driver of the Oldsmobile, later identified as Rolle, fled from the car, and was

eventually apprehended and returned to the area of the Oldsmobile. (Residence Aff. at 3).

               A subsequent records check revealed that Rolle had a suspended driver’s license

and that the car was registered to a female owner. Because the car had been damaged during the

crash, a tow truck was called to the scene, and an inventory search was performed. During the

search, five kilograms of cocaine were discovered in a backpack in the car. Rolle was then taken

to the Public Safety Building where he was interviewed by Aponte. (Residence Aff. at 3).

               According to Aponte, after being advised of his Miranda rights, Rolle stated that

he had been directed by Jessie McIntyre to deliver “kilos” of cocaine to 378 Alphonse Street,

which he had done for McIntyre on four previous occasions. Each time, he first accompanied

McIntyre to a house on Parsells Avenue to obtain the cocaine. Rolle further stated that on the

preceding Friday, he had accompanied McIntyre to the Parsells Avenue residence to deliver cash

to a Hispanic male as payment for a previous cocaine purchase. (Residence Aff. at 4). Although

Rolle did not know the exact address of the Parsells Avenue residence, he provided a detailed

description of the house, as well as the vehicles that were often parked in the driveway. Based

upon this description, officers were able to identify the house as 735 Parsells Avenue.

               Finally, Aponte also affirmed that while researching the Parsells Avenue address,

he learned that a confidential informant working with Officer Sindoni had been in the residence


                                                18
  Case 6:05-cr-06062-DGL-MWP               Document 108         Filed 03/03/06      Page 19 of 39




and had observed two kilograms of cocaine, kilogram wrappers and a large amount of money in

the basement. (Residence Aff. at 4).

               Considering this evidence, I find that unless Aponte knew that the information he

provided was false or recklessly disregarded the falsity of it, his affidavit sufficiently

demonstrated probable cause for the warrant. I now turn to the question of Aponte’s knowledge.

                       2. Aponte Reasonably Relied Upon Available Information: Torres

argues that Aponte’s affidavit contained false and misleading information because it did not

adequately disclose Rolle’s incentive to fabricate or his initial statement to Aponte. He further

maintains that the affidavit was deficient because it failed to demonstrate the reliability of the

confidential informant. (Docket ## 41, 88).

               Under the Supreme Court’s holding in Franks v. Delaware, “a district court may

not admit evidence seized pursuant to a warrant if the warrant was based on materially false and

misleading information.” United States v. Levasseur, 816 F. 2d 37, 43 (2d Cir. 1987) (citing

Franks v. Delaware, 438 U.S. 154 (1978)). Suppression is not an automatic remedy, however;

rather, suppression should be denied if the false material may be separated from the remaining

content and that remaining content adequately demonstrates probable cause. Franks v.

Delaware, 438 U.S. at 156.

               To prove falsity, the defendant must demonstrate that the affidavit submitted in

support of the search warrant contained information that “the affiant knew was false or would

have known was false except for his reckless disregard for the truth.” United States v. Leon, 468

U.S. 897, 923 (1984) (citing Franks, 438 U.S. at 154); United States v. Castellanos, 820 F. Supp.




                                                  19
  Case 6:05-cr-06062-DGL-MWP             Document 108         Filed 03/03/06      Page 20 of 39




80, 84 (S.D.N.Y. 1993). Such proof must be by a preponderance of the evidence. Franks, 438

U.S. at 156.

               Here, Torres contends that Aponte’s affidavit was false and misleading because it

did not adequately disclose Rolle’s motive to lie and his initial untruthfulness. To the contrary,

Aponte’s affidavit explained that Rolle was apprehended after he attempted to flee from a traffic

stop and that five kilograms of cocaine were discovered in the car from which Rolle had fled.

During the subsequent interview, Rolle stated that he was delivering the narcotics for Jessie

McIntyre, as he had done approximately four times in the past; on those four occasions, the

cocaine had been obtained from a house on Parsells Avenue. I find that this recitation

sufficiently advised the issuing judge of the circumstances of Rolle’s apprehension and

subsequent statement and the fact that he may have had a motive to minimize his culpability.

               In addition, a Franks hearing was conducted on August 31, 2005, during which

this Court examined Aponte’s failure to reference Rolle’s initial statement in his application for

the search warrant for 735 Parsells Avenue. At this hearing, Aponte testified that he interviewed

Rolle after he had been arrested and the five kilograms of cocaine had been seized from his

vehicle. According to Aponte, after having been advised of his Miranda rights, Rolle initially

began to explain that earlier in the day, he had been to a house on Parsells Avenue for the

purpose of picking up narcotics. As Rolle was talking, Aponte was recording the statement on

paper. (Tr.A 5-6). Approximately two minutes after the interview started, however, Rolle stated,

in sum and substance,“F_ _ _ this, I’m not going to lie for anyone, I’m not going to go to jail for




                                                20
  Case 6:05-cr-06062-DGL-MWP                      Document 108            Filed 03/03/06          Page 21 of 39




anyone, I’m going to tell you exactly what happened.”10 (Tr.A 6; G.Ex. 1). Hearing Rolle’s

declaration, Aponte marked an asterisk on the top of the statement form he had been using and

wrote, “Statement originally given by Frederick and recanted.” (Tr.A 8; G.Ex. 2). At that point,

Aponte began preparing a second report of the interview, which is described supra at 11-13 and

was admitted at the hearing. That statement implicated Jessie McIntyre and a male Hispanic

living in a yellow house on Parsells Avenue, later identified as 735 Parsells Avenue.

                  Aponte testified that he did not reference Rolle’s initial statement in his affidavit

because he did not believe it was relevant. (Tr.A 18). Aponte explained that he did not intend to

deceive Judge Yacknin; rather, “We had just gone only a minute or two into his statement and I

didn’t feel anything that he had said there would make any difference in this case.” (Tr.A 18,

20). Moreover, Aponte testified that he obtained information corroborating the information

reflected in Rolle’s second statement. Specifically, Aponte learned that the residence at 735

Parsells Avenue was consistent with the description provided by Rolle. (Tr.A 18-19). More

importantly, Aponte also learned from the case tracking system that 735 Parsells Avenue was the

subject of a separate investigation by a fellow officer. Indeed, the note entered on the case

tracking system stated, “Target lives here and stores weight here,” which was consistent with

Rolle’s report that he obtained kilogram quantities of cocaine from 735 Parsells Avenue.

(Residence Aff. at 3; Tr.B 39; G.Ex. 4). Indeed, Aponte was advised by Officer Sindoni that he

worked with a confidential informant who had been inside the residence at 735 Parsells Avenue


         10
              Officer Aponte’s written report of Rolle’s initial statement did not include Rolle’s assertion that he had
gone to the Parsells Avenue residence earlier in the day for the purpose of picking up cocaine. (G.Ex. 1). Aponte
testified that he made his report simultaneously as Rolle was speaking and did not have time to record the purpose of
Rolle’s visit before Rolle made the exclamation that caused Aponte to begin recording a new statement. (Tr.A
22-23).

                                                          21
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 22 of 39




and had reported observing kilogram quantities of cocaine – the same quantity identified by Rolle

– empty kilogram wrappers and a large amount of cash. (Residence Aff. at 4; Tr.B 12-13).

Although Aponte would have been better advised to have disclosed Rolle’s earlier statement in

the warrant application, his explanation for his decision not to do so was credible and belies

Torres’s contention that Aponte intentionally concealed that fact in an effort to mislead the

issuing judge.

                 While Torres correctly notes that Aponte’s affidavit did not disclose any

information about the reliability of any previous information provided by the informant, the

absence of such information is not fatal. Rather, the consistency between the information

provided by the informant and that provided by Rolle established an independent basis upon

which to conclude that the informant’s information was reliable. See United States v. Canfield,

212 F.3d 713, 719-20 (2d Cir. 2000) (finding probable cause based upon information provided by

informant without prior record of reliability because information was corroborated by officer’s

own investigation and information provided by another informant); see also United States v.

Wagner, 989 F.2d 69, 73 (2d Cir. 1993) (“it is improper to discount an informant’s information

simply because he has no proven record of truthfulness or accuracy[;] . . . if an informant’s

declaration is corroborated in material respects, the entire account may be credited, including

parts without corroboration”) (citations omitted).

                 On the record before me, I find no basis to conclude that Aponte knowingly relied

upon, or recklessly disregarded, false information or that he intentionally misled the issuing

judge. See Franks, 438 U.S. at 171 (“[t]he deliberate falsity or reckless disregard whose

impeachment is permitted . . . is only that of the affiant, not of any nongovernmental informant”);


                                                 22
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 23 of 39




United States v. Wapnick, 60 F.3d 948, 956 (2d Cir. 1995) (defendant not entitled to Franks

hearing based upon showing that informant knowingly or recklessly made false statement to

affiant as long as affiant in good faith represented what the informant said), cert. denied, 517

U.S. 1187 (1996); United States v. Hennings, 1997 WL 714250, *6 (W.D.N.Y. 1997) (rejecting

motion for Franks hearing based upon assertion that confidential informant had not provided a

truthful report because “an attack on the informant’s statements is permitted only for the purpose

of demonstrating misstatements made by the government”). In my view, Aponte’s affidavit

adequately demonstrated probable cause for the warrant, and the warrant properly issued.

                       3. Evidence Admissible Pursuant to Good Faith Exception: Moreover,

even if probable cause did not exist to justify the issuance of a search warrant, nothing in the

record suggests that the searching officers did not rely upon the warrant in good faith. In United

States v. Leon, 468 U.S. 897 (1984), the Supreme Court held that the Fourth Amendment

exclusionary rule should not be applied to evidence obtained by a police officer whose reliance

on a search warrant issued by a neutral magistrate was based on “objective good faith,” even

though the warrant itself might ultimately be found to be defective. Id. at 918-23; United States

v. Salameh, 152 F.3d 88, 114 (2d Cir. 1998), cert. denied, 525 U.S. 1112 (1999); United States v.

Benedict, 104 F. Supp. 2d 175, 182 (W.D.N.Y. 2000). The rationale underlying this good-faith

exception is that the exclusionary rule “cannot be expected, and should not be applied, to deter

objectively reasonable law enforcement activity.” Leon, 468 U.S. at 919.

               The Court in Leon identified four situations in which the good faith exception is

inapplicable. Specifically, an executing officer’s reliance on a search warrant will not be deemed

to have been in good faith:


                                                 23
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 24 of 39




                       (1) where the issuing magistrate had been knowingly misled;

                       (2) where the issuing magistrate wholly abandoned his or her
                           judicial role;

                       (3) where the application is so lacking in indicia of probable cause
                           as to render reliance upon it unreasonable; and

                       (4) where the warrant is so facially deficient that reliance upon it is
                           unreasonable.

Id. at 923. See United States v. Cancelmo, 64 F.3d 804, 807 (2d Cir. 1995) (citations omitted).

               Here, as described above, I find that Aponte did not knowingly mislead Judge

Yacknin, nor is there any evidence to suggest that the Judge wholly abandoned her role as a

judicial officer. Moreover, as also stated, Aponte’s affidavit set forth a detailed description of his

investigation of narcotics activities relating to 735 Parsells Avenue. Thus, it simply cannot be

said that the search warrant application was so lacking in probable cause as to render the

executing officer’s reliance upon it unreasonable. Finally, the search warrant was not so facially

deficient that it would have been unreasonable for the searching officers to rely upon it.

Accordingly, even if the search warrant for 735 Parsells Avenue was not supported by probable

cause, Torres’s motion to suppress the evidence seized from his residence should also be denied

under the Leon good-faith exception.

               B. Suppression of Evidence Seized from the Ford Bronco: Torres and

Medina-Sosa each seek to suppress the cocaine seized from the Ford Bronco on the grounds that

Medina-Sosa’s consent to search the vehicle was involuntary and that the search warrant was




                                                 24
  Case 6:05-cr-06062-DGL-MWP                    Document 108            Filed 03/03/06         Page 25 of 39




unsupported by probable cause.11 (Docket ## 26, 41). The government opposes such motions,

arguing that Torres lacks standing to challenge the search of the Bronco and that search was

lawful in any event. (Docket ## 45, 95).

                          1. Standing: A defendant seeking to suppress evidence must demonstrate

by a preponderance of the evidence that he had a reasonable expectation of privacy in the

location or items searched. Rakas v. Illinois, 439 U.S. 128, 143 (1978); United States v. Perea,

986 F.2d 633, 639 (2d Cir. 1993); United States v. Osorio, 949 F.2d 38, 40 (2d Cir. 1991). This

expectation of privacy must be both subjectively and objectively reasonable – that is, the

defendant must have a subjective expectation of privacy and that expectation must be one that is

deemed objectively reasonable by society at large. United States v. Fields, 113 F.3d at 320;

United States v. Osorio, 949 F.2d at 40. Courts generally evaluate standing by considering

“whether the defendant had any property or possessory interest in the place searched or the items

seized.” Id. (citations omitted).

                 As noted above, the burden of establishing standing falls squarely upon the

defendant. Rawlings v. Kentucky, 448 U.S. 98, 104 (1980). This burden “is met only by sworn

evidence, in the form of an affidavit or testimony, from the defendant or someone with personal

knowledge. A defendant’s unsworn assertion of the Government’s representations does not meet

this burden.” United States v. Montoya-Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995)

(citations omitted).


        11
            Torres has also moved to suppress the evidence seized from the Bronco on the grounds that the search of
the vehicle was the unlawful fruit of the invalid search warrant for 735 Parsells Avenue. Because I find, for the
reasons addressed above, that the search warrant for 735 Parsells Avenue was supported by probable cause, it is my
further recommendation that Torres’s motion to suppress evidence seized as the impermissible fruit of that search be
denied.

                                                        25
  Case 6:05-cr-06062-DGL-MWP                    Document 108            Filed 03/03/06         Page 26 of 39




                  The government concedes that Medina-Sosa was the owner of the Ford Bronco

and does not contest his standing to challenge the search. (Bronco Aff. at 3; Tr.B 68-69). The

government argues, however, that Torres has failed to demonstrate that he had a reasonable

expectation of privacy in the Bronco merely because it was parked in his driveway. (Docket

# 45). Torres asserts that he has standing to challenge the search because the Bronco was within

the curtilage of his property and in close proximity to the entrance to his home. (Docket ## 61,

88).

                  The Second Circuit has held that “driveways that are ‘readily accessible to visitors

are not entitled to the same degree of Fourth Amendment protection as are the interiors of

defendants’ houses.’” United States v. Reilly, 76 F.3d 1271, 1279 (2d Cir. 1996) (quoting

Krause v. Penny, 837 F.2d 595, 597 (2d Cir. 1988)); see also United States v. Reyes, 283 F.3d

446, 466-67 (2d Cir.) (no expectation of privacy in publicly visible driveway across which a

chain was hung) (citing cases), cert. denied, 537 U.S. 822 (2002). “Unobstructed open areas in

front of a residence are not entitled to Fourth Amendment protection.” Esmont v. City of New

York, 371 F. Supp. 2d 202, 212 (E.D.NY. 2005) (finding no expectation of privacy in front yard

that was exposed to the public) (citing United States v. Smith, 783 F.2d 648, 652 (6th Cir. 1986)).

                  In this matter, the government has produced a photograph taken from the street in

front of the residence at 735 Parsells Avenue on which it has depicted the location of the Bronco

at the time of the search. (Docket # 61, Ex. A).12 The Ford Bronco was parked in the driveway

of the residence and could be observed from the street. (Tr.B 52). Nonetheless, Torres maintains



         12
             Torres apparently agrees with the depiction because he has appended the photograph to his affidavit
offered in support of his suppression motion and has relied upon it. (See Docket # 61, ¶¶ 3-4).

                                                         26
  Case 6:05-cr-06062-DGL-MWP               Document 108       Filed 03/03/06     Page 27 of 39




that because the Bronco was parked adjacent to the door of his house, his expectation of privacy

in his residence should extend to the vehicle parked nearby. Torres has not provided any

authority to support such an extension of his expectation of privacy. Moreover, the factual

record does not support such a theory. According to the suppression hearing testimony, it was

Medina-Sosa, not Torres, who was sitting in the driver’s seat of the vehicle; presumably, it was

he who chose to park the Bronco in the driveway. Thus, the fact that it was parked close to the

residence at the time of the search was apparently a coincidence and not the result of Torres’s

efforts to assert or preserve some privacy interest in the Bronco.

               In United States v. Williams, 219 F. Supp. 2d 346 (W.D.N.Y. 2002), the court

considered the identical issue and resolved it against the position Torres maintains. In Williams,

the court held that the defendant lacked standing because “[t]here is no expectation of privacy in

a driveway that is exposed to the public.” Id. at 360 (citing United States v. Hensel, 699 F.2d 18

(1st Cir.), cert. denied, 464 U.S. 823 (1983)). According to the court, because the defendant had

not established any type of interest in the vehicle whatsoever, he lacked the requisite expectation

of privacy necessary to challenge the search. Id. at 361. I agree with Magistrate Judge

Schroeder’s reasoning in Williams.

               Accordingly, I find that Torres has failed to demonstrate that he had a reasonable

expectation of privacy in the Ford Bronco. It is therefore my recommendation that his motion to

suppress evidence seized from the vehicle be denied on that basis alone. In any event, because I

also find that the search of the Bronco was lawful, his motion should be denied on the merits

even if he had the requisite standing to bring it.




                                                     27
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 28 of 39




                       2. Initial Detention of Medina-Sosa: Medina-Sosa argues that

suppression of the narcotics seized from the Ford Bronco is warranted because the officers lacked

reasonable suspicion to approach him as he sat in the vehicle and because, after doing so, they

unlawfully detained him. (Docket ## 26, 85). The government seeks to justify Medina-Sosa’s

detention under both Michigan v. Summers, 452 U.S. 692 (1981), and Terry v. Ohio, 392 U.S. 1

(1968). (Docket #95 at 11-14). Indeed, of the two officers who testified concerning the reason

why Medina-Sosa was initially detained, one explained that it was to ensure officer safety (Tr.B

45-46) and the other explained that it was for investigative purposes (Tr.B 84).

               The law is well-settled that police have the authority to detain occupants of a

premises while a search warrant is being executed. See Michigan v. Summers, 452 U.S. at 705

(“a warrant to search for contraband founded on probable cause implicitly carries with it the

limited authority to detain the occupants of the premises while a proper search is conducted”);

see also United States v. Fullwood, 86 F.3d 27, 29-30 (2d Cir.) (permissible for officers to

handcuff and detain defendant while they conducted a search of his premises pursuant to valid

search warrant), cert. denied, 519 U.S. 985 (1996). Such detention is justified in order to ensure

officer safety, prevent flight in the event that incriminating evidence is discovered and facilitate

the orderly completion of the search. Michigan v. Summers, 452 U.S. at 702-03.

               The law is equally clear that a police officer may lawfully conduct a brief stop and

frisk for weapons, without probable cause, if the officer “observes unusual conduct which leads

him reasonably to conclude in light of his experience that criminal activity may be afoot.” Terry

v. Ohio, 392 U.S. at 30. On a motion to suppress, a defendant bears the initial burden of

establishing that a government official acting without a warrant subjected him to a search or


                                                 28
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 29 of 39




seizure. United States v. Arboleda, 633 F.2d 985, 989 (2d Cir.1980) (citations omitted), cert.

denied, 450 U.S. 917 (1981); United States v. Chavis, 48 F.3d 871, 872 (5th Cir.1995); United

States v. Bayless, 921 F. Supp. 211, 213 (S.D.N.Y. 1996). Once the defendant has met this

burden, the burden then shifts to the government to demonstrate by a preponderance of the

evidence, id. at 213, that the search or seizure did not violate the Fourth Amendment. United

States v. Arboleda, 633 F.2d at 989; see also United States v. Bonilla Romero, 836 F.2d 39, 45

(1st Cir. 1987) (“[w]hen it has acted without a warrant, the ultimate burden of persuasion is then

upon the government to show that its evidence is not tainted”) (citing Alderman v. United States,

394 U.S. 165, 183 (1969)), cert. denied, 488 U.S. 817 (1988).

               The question presented by this case is whether Medina-Sosa’s initial detention for

a period of fifteen minutes was justified under Michigan v. Summers, as a Terry stop, or, as some

courts have found, under both rationales. See Baker v. Monroe Township, 50 F.3d 1186 (3d Cir.

1995) (finding initial detention of individuals found on front doorstep of residence about to be

searched pursuant to a warrant was justified under both Michigan v. Summers and Terry);

Willowby v. City of Philadelphia, 946 F. Supp. 369 (E.D. Pa. 1996) (applying both Michigan v.

Summers and Terry analysis to find that initial detention of individuals sitting on porch of house

adjacent to one for which officers were executing a search warrant was justified). In the case at

bar, as officers were surveilling 735 Parsells Avenue while they awaited the arrival of a search

team, they observed Medina-Sosa drive the Ford Bronco into the driveway, park only ten to

fifteen feet from the door, exit his vehicle and ring the doorbell to the residence. (Tr.B 44, 47,

120). When he received no response, he returned to the Bronco, apparently waiting for the

resident to return. (Tr.B 120). By the time the searching officers arrived at the scene and


                                                 29
  Case 6:05-cr-06062-DGL-MWP             Document 108         Filed 03/03/06      Page 30 of 39




observed the black Ford Bronco in the driveway, they knew that a confidential informant had

provided information that a substantial quantity of cocaine was expected to be delivered by a

Hispanic male driving a black Ford Bronco. (Tr.B 14).

               The government relies upon Michigan v. Summers to justify the officers’ fifteen-

minute detention of Medina-Sosa on the front porch, contending that Medina-Sosa’s close

proximity to the door of the location to be searched warranted his detention while the search was

in progress to ensure officer safety. Indeed, one of the searching officers, Sergeant Henderson,

testified that Medina-Sosa was detained to minimize any risk to the officers conducting the

search. (Tr.B 45-46). Medina-Sosa counters that his detention was not justified under Summers

because he was outside the premises at the time of the search. While the officers were free to bar

him from entering the house, Medina-Sosa maintains, they were not free to detain him.

               Although I find this question to be a close one, I need not resolve it because I

believe Medina-Sosa’s relatively brief detention was justified under Terry v. Ohio, an alternative

justification argued by the government. Having arrived to execute a warrant to search 735

Parsells Avenue for narcotics, the officers observed a black Ford Bronco with a Hispanic male in

the driver’s seat parked in the driveway of the residence. Their observations were consistent with

the information they knew had been provided by a confidential informant about an expected

delivery of a large quantity of narcotics to be transported by a Hispanic male in a black Ford

Bronco. Under those circumstances, it was plainly reasonable for the officers to suspect that

criminal activity was afoot and to conduct a Terry stop in order to determine the driver’s identity

and whether he would consent to a search of his vehicle. In fact, Officer Celorio who




                                                30
  Case 6:05-cr-06062-DGL-MWP                      Document 108            Filed 03/03/06         Page 31 of 39




communicated with Medina-Sosa testified that Medina-Sosa was detained for investigative

purposes. (Tr.B 84).

                  Of course, the officers did not immediately communicate with Medina-Sosa.

Rather, they detained him for a period of fifteen minutes while they initiated the search of the

house. Considering the dangers inherent in executing a search warrant, particularly one

involving allegations of substantial drug trafficking and the fact that the officers had reasonable

suspicion to believe that Medina-Sosa was involved in that trafficking, I find that his relatively

brief detention until the search location could be secured and the search commenced was

reasonable. Certainly, ample authority exists upholding Terry stops involving periods of

detention longer than the fifteen minutes that Medina-Sosa was detained before he consented to

the search of the Bronco.13 See, e.g., United States v. Glover, 957 F.2d 1004, 1013 (2d Cir. 1992)

(finding thirty-minute detention acceptable under Terry); United States v. Matos, 2004 WL

1638193, *9 (W.D.N.Y. 2004) (investigative stop lasting thirty to forty-five minutes did not

violate parameters of Terry stop); United States v. Barber, 839 F. Supp. 193, 201 n.6 (W.D.N.Y.

1993) (“defendant’s 35-40 minute detention prior to his consent is not violative of the Fourth

Amendment’s reasonableness clause”).

                  The reasonableness of the detention is further underscored by the fact that

Medina-Sosa apparently spoke only Spanish, necessitating the use of a Spanish-speaking officer.

Although the record is unclear whether other officers were present who spoke Spanish, the record

         13
              Although Medina-Sosa was ultimately brought to the Public Safety Building and detained for
approximately three hours before he was formally arrested (Tr.B 71-72), it is only the initial fifteen-minute detention
on the front porch at 735 Parsells Avenue that is the subject of this inquiry. Although Medina-Sosa was not arrested
until later in the evening, I find that probable cause to arrest him existed at the time the officers discovered the
hidden compartment containing a package that Aponte believed to be cocaine in the vehicle Medina-Sosa admitted
he owned.

                                                          31
  Case 6:05-cr-06062-DGL-MWP              Document 108         Filed 03/03/06      Page 32 of 39




is clear that Officer Celorio had a role to play in the initial execution of the warrant. (Tr.B 66,

83). I do not believe that the officers were constitutionally required to choose between

compromising their searching procedures and avoiding a minimal delay in interviewing an

individual properly subject to a Terry stop.

                       3. Consent to Search: Having found that the searching officers were

justified in detaining Medina-Sosa during the execution of the search of 735 Parsells Avenue, I

further find that he voluntarily consented to the search of the Ford Bronco. Although the Fourth

Amendment generally requires that a police officer first obtain a warrant before conducting a

search of private property, Maryland v. Dyson, 527 U.S. 465, 466 (1999) (per curiam) (citing

California v. Carney, 471 U.S. 386, 390-91 (1985)), a warrantless search is permissible if based

upon the voluntary consent of a person authorized to provide consent. Schneckloth v.

Bustamonte, 412 U.S. 218, 222 (1973); United States v. Elliott, 50 F.3d 180, 185 (2d Cir. 1995),

cert. denied, 516 U.S. 1050 (1996). Such consent may be given either by the owner of the

property that is to be searched, Schneckloth v. Bustamonte, 412 U.S. at 222, or by a third party

possessing common authority over the property. See United States v. Matlock, 415 U.S. 164, 171

(1974).

               The consent need only be voluntary, that is, obtained without coercion, and the

resident need not be advised of his or her right not to consent. See Schneckloth, 412 U.S. at

241-42; United States v. Garcia, 56 F.3d 418, 422 (2d Cir. 1995). It is the government’s burden

to prove by a preponderance of the evidence that the consent was voluntary. United States v.

Buettner-Janusch, 646 F.2d 759, 764 (2d Cir. 1981), cert. denied, 454 U.S. 830 (1981).




                                                 32
  Case 6:05-cr-06062-DGL-MWP                      Document 108            Filed 03/03/06          Page 33 of 39




                  The issue of voluntariness is to be determined based upon the totality of the

circumstances. Schneckloth, 412 U.S. at 227; United States v. Hernandez, 5 F.3d 628, 632 (2d

Cir. 1993); United States v. Kon Yu-Leung, 910 F.2d 33, 41 (2d Cir. 1990). “Consent must be a

product of that individual’s free and unconstrained choice, rather than a mere acquiescence in a

show of authority.” United States v. Wilson, 11 F.3d 346, 351 (2d Cir. 1993) (citations omitted),

cert. denied, 511 U.S. 1130 (1994). The standard used to determine the voluntariness of an

individual’s consent is an objective one. United States v. Garcia, 56 F.3d at 423.

                  According to the evidence presented to this Court, Officer Celorio approached

Medina-Sosa on the front porch of 735 Parsells Avenue approximately fifteen minutes after

Medina-Sosa had been removed from the Bronco. Celorio, speaking Spanish, asked Medina-

Sosa for his name and whether he was the owner of the vehicle. Medina-Sosa acknowledged that

the Bronco belonged to him.14 Celorio then asked whether Medina-Sosa would give his

permission to search the vehicle, and Medina-Sosa responded, “Yes, of course.” (Tr.B 68-69).

                  Celorio testified that Medina-Sosa did not appear to be in physical discomfort or

pain, nor was he threatened or physically intimidated in any way. Moreover, Medina-Sosa did

not appear to be under the influence of drugs or alcohol, and his answers were responsive to the

questions posed of him. (Tr.B 69-70). On this record, I find that despite Medina-Sosa’s

conclusory assertions to the contrary, he voluntarily consented to the search of the Bronco.15


         14
           The government has represented that it does not intend to introduce Medina-Sosa’s statement that he was
the owner of the Ford Bronco during its case-in-chief at trial. (Tr.B 125).

         15
              In support of his challenge to the consent search, Medina-Sosa relies upon United States v. Isiofia, 370
F.3d 226 (2d Cir. 2004). Unlike Medina-Sosa, I do not find that Isiofia counsels in favor of suppression in this case.
There, the Second Circuit affirmed the suppression of evidence obtained pursuant to a purported consent search,
finding the defendant’s consent was involuntary. In reaching its conclusion, the court afforded significant deference
to the district court’s credibility determinations, including its consideration of the defendant’s affidavit in which he

                                                          33
  Case 6:05-cr-06062-DGL-MWP                     Document 108             Filed 03/03/06         Page 34 of 39




                           4. Probable Cause for Search Warrant: During the initial search of the

Bronco, officers discovered what appeared to be a hidden compartment in the floor beneath the

rear seat. (Tr.B 101). Aponte testified that upon closer inspection, he discovered a hole in the

metal floorboard of the vehicle with jagged metal edges. (Tr.B 102; G.Ex. 3). Inside the hole,

Aponte was able to touch an item that appeared to be bound with black electrical tape, but he was

unable to pull the item out. (Tr.B 103). Aponte testified that based upon his observations,

training and experience, he believed the item to be cocaine. (Tr.B 106). Having made that

discovery, Aponte discontinued the search, and a narcotics detection dog was called to the scene.

The dog alerted to the Bronco by barking aggressively, indicating that narcotics were present.

(Tr.B 106-08).

                  At that point, Aponte applied for a search warrant and submitted his affidavit in

support thereof. In his affidavit, Aponte explained that the driver of a Bronco parked in the

driveway of a residence for which a warrant was being executed had been detained and had

consented to the search of the vehicle. He further recounted that a suspected hidden

compartment had been discovered during the search, which Aponte opined was similar to those

used by persons involved in trafficking large quantities of narcotics, weapons or currency, and

that a narcotics detection dog had alerted to the vehicle. (Bronco Aff. at 3).

                  I find that the application before Judge Elliott was more than sufficient to

establish probable cause for the warrant to search the Bronco. The vehicle’s presence at a



swore that the agents “yelled” at him and used “abusive language” and “demanded’ his consent and told him ‘that if
[he] did not provide [his] consent, [he] would be jailed and deported and would never see [his] family again.’” Id. at
232-33. Here, Medina-Sosa has not provided any evidence to suggest that his consent to search the Bronco was the
product of coercion; nor do I find that officers’ testimony lacked credibility. Instead, I find for the reasons already
addressed that the government has satisfied its burden of demonstrating that Medina-Sosa’s consent was voluntary.

                                                          34
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 35 of 39




residence for which a search warrant for narcotics had already been issued, along with an alert by

a narcotics detection dog and the officer’s observation of a hidden compartment that, in the

officer’s training and experience, looked like one utilized for narcotics trafficking, amply

demonstrated probable cause to believe that evidence of narcotics activity would be discovered in

the Ford Bronco.

               Accordingly, it is the recommendation of this Court that the cocaine seized from

the Ford Bronco should not be suppressed.



II. Suppression of Statements

               In the final motion before this Court, Medina-Sosa seeks suppression of the

statements he made during the interview at the Monroe County Public Safety Building following

his arrest on April 20, 2005. He alleges that suppression is warranted because he was not

properly advised of his rights pursuant to Miranda and because his statements were involuntary.

(Docket # 26). The government opposes the motion, arguing that Medina-Sosa’s statements are

properly admissible. (Docket ## 33, 95).

               It is, of course, well-settled that statements made during custodial interrogation

are generally inadmissible unless a suspect first has been advised of his rights pursuant to

Miranda v. Arizona, 384 U.S. 436 (1966). In Miranda, the Supreme Court held that the

prosecution may not use a defendant’s statements that are the product of custodial interrogation

unless it demonstrates the defendant was first warned of his Fifth Amendment privilege against

self-incrimination and then voluntarily waived those rights. Id. at 444.




                                                 35
  Case 6:05-cr-06062-DGL-MWP                     Document 108            Filed 03/03/06         Page 36 of 39




                  Here, the government does not appear to contest that Medina-Sosa was in custody

at the time the statements were made.16 The question is whether Medina-Sosa validly waived his

Miranda rights prior to providing the statements. To establish a valid waiver, the government

must prove by a preponderance of the evidence “(1) that the relinquishment of the defendant’s

rights was voluntary, and (2) that the defendant had a full awareness of the right being waived

and of the consequences of waiving that right.” United States v. Jaswal, 47 F.3d 539, 542 (2d

Cir. 1995) (citing Moran v. Burbine, 475 U.S. 412, 421 (1986)).

                  The record before this Court, including the testimony of Officer Celorio,

demonstrates that Medina-Sosa, a native Spanish-speaker, was interviewed by two Spanish-

speaking officers – Celorio and Torres. (Tr.B 66, 72-73). Upon entering the interview room,

Celorio informed Medina-Sosa that he was being detained pursuant to an investigation. Celorio

then advised Medina-Sosa of his Miranda rights by reading such rights from a Spanish Miranda

form. (Tr.B 73, 77; G.Ex. 1). Specifically, Celorio explained to Medina-Sosa in Spanish that he

had the right to remain silent and that anything he said could be used against him. Celorio

further advised that he had the right to consult an attorney and that if he could not afford an

attorney, one would be provided to him. Finally, Celorio instructed Medina-Sosa that if he

decided to speak, he could stop at any time. (Tr.B 75). After explaining the Miranda rights,

Celorio asked Medina-Sosa whether he understood and whether he wanted to waive his rights

and speak. Medina-Sosa responded affirmatively to each question. (Tr.B 76-77).




         16
            Insofar as Medina-Sosa challenges his detention, I find that probable cause to arrest him existed upon
discovery of the hidden compartment in the Ford Bronco. See n.13 supra.

                                                         36
  Case 6:05-cr-06062-DGL-MWP             Document 108        Filed 03/03/06      Page 37 of 39




               Celorio then interviewed Medina-Sosa for approximately fifty or sixty minutes.

(Tr.B 78). At no time during the interview did Medina-Sosa indicate that he wanted to speak

with an attorney, nor did he say anything during the interview to suggest that he did not want to

speak with the officers until he advised them that he wanted to stop speaking, at which point the

officers terminated the interview. (Tr.B 78). Celorio did not threaten or physically intimidate

Medina-Sosa in any way. Moreover, Medina-Sosa did not appear to be in physical discomfort or

pain or under the influence of drugs or alcohol, and his answers were responsive to the questions

posed of him. (Tr.B 69-70). Although Medina-Sosa stuttered during the beginning of the

conversation, he explained his condition to Celorio, after which they were able to communicate

more effectively. (Tr.B 69). On this record, I find that Medina-Sosa knowingly and voluntarily

waived his Miranda rights.

               Similarly, I also reject Medina-Sosa’s claim that his statements were made

involuntarily. (Docket # 26). Statements made in violation of Miranda may be used by the

government for impeachment purposes, even though they are inadmissible in the government’s

case-in-chief. See Mincey v. Arizona, 437 U.S. 385, 397-98 (1978). A coerced or otherwise

involuntary statement may not, however, be used for any purpose at trial. United States v. Kaba,

999 F.2d 47, 50 (2d Cir.) (citing Mincey v. Arizona, 437 U.S. at 398), cert. denied, 510 U.S. 1003

(1993).

               In examining whether a statement was made involuntarily, a court must consider

the totality of the circumstances in which it was given “to determine whether the government

agents’ conduct ‘was such as to overbear [a defendant’s] will to resist and bring about

[statements] not freely self-determined.’” Id. at 51 (quoting United States v. Guarno, 819 F.2d


                                                37
  Case 6:05-cr-06062-DGL-MWP              Document 108        Filed 03/03/06      Page 38 of 39




28, 30 (2d Cir. 1987) (citations omitted)). In this case, no evidence exits in the record to suggest

that Medina-Sosa’s statements were coerced by law enforcement or otherwise involuntarily

made. Rather, as discussed above, I find that Medina-Sosa freely and voluntarily agreed to waive

his rights and speak to law enforcement. Accordingly, this Court recommends the denial of

Medina-Sosa’s motion to suppress statements made by him on April 20, 2005.



                                         CONCLUSION

               For the foregoing reasons, it is my decision and order that Torres’s motion for

disclosure of the identity of the government’s confidential informant (Docket # 41) is DENIED.

It is my report and recommendation that Torres’s and Medina-Sosa’s motions to suppress

tangible evidence (Docket ## 26, 41) be DENIED. It is also my recommendation that Medina-

Sosa’s motion to suppress statements (Docket # 26) be DENIED.

IT IS SO ORDERED.



                                                         s/Marian W. Payson
                                                                MARIAN W. PAYSON
                                                             United States Magistrate Judge

Dated: Rochester, New York
       March 3 , 2006.




                                                 38
  Case 6:05-cr-06062-DGL-MWP                    Document 108           Filed 03/03/06         Page 39 of 39




Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

        ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within ten (10) days after receipt of a copy of this Report and Recommendation in
accordance with the above statute and Rule 58.2(a)(3) of the Local Rules of Criminal Procedure
for the Western District of New York.17

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Massachusetts Mun. Wholesale
Elec. Co., 840 F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Secretary of Health and Human Services, 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 58.2(a)(3) of the Local Rules of Criminal
Procedure for the Western District of New York, “written objections shall specifically identify
the portions of the proposed findings and recommendations to which objection is made and the
basis for such objection and shall be supported by legal authority.” Failure to comply with the
provisions of Rule 58.2(a)(3) may result in the District Court’s refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.


                                                                 s/Marian W. Payson
                                                                        MARIAN W. PAYSON
                                                                     United States Magistrate Judge

Dated: Rochester, New York
       March 3 , 2006.

        17
            Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(F)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the ten days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

                                                        39
